                       Case: 23-3630         Document: 32         Filed: 09/26/2023     Page: 1
                                         UNITED STATES COURT OF APPEALS
                                              FOR THE SIXTH CIRCUIT

                                            Appearance of Counsel
            23-3630
Appeal No.: ___________________________________

             Parents Defending Education             Olentangy Local School District Board of Education,
Case Title: _____________________________________vs.______________________________________
                                                     et al.


List all clients you represent in this appeal:
American Civil Liberties Union Foundation, American Civil Liberties Union of Ohio Foundation




         ‫ ܆‬Appellant             ‫ ܆‬Petitioner             ✔ Amicus Curiae
                                                          ‫܆‬                             ‫܆‬Criminal Justice Act
         ‫ ܆‬Appellee              ‫ ܆‬Respondent             ‫ ܆‬Intervenor                        (Appointed)

✔ Check if a party is represented by more than one attorney.
‫܆‬
‫ ܆‬Check if you are lead counsel.

If you are substituting for another counsel, include that attorney’s name here:



By filing this form, I certify my admission and/or eligibility to file in this court.

               Freda J. Levenson
Attorney Name: ________________________________               Freda J. Levenson
                                                Signature: s/_______________________________

           American Civil Liberties Union of Ohio Foundation
Firm Name: ______________________________________________________________________________

                  4506 Chester Ave.
Business Address: ________________________________________________________________________

                 Clevleand, OH 44103
City/State/Zip: ____________________________________________________________________________

                               614-586-1972
Telephone Number (Area Code): _____________________________________________________________

                flevenson@acluohio.org
Email Address: ___________________________________________________________________________

Please ensure your contact information above matches your PACER contact information. If necessary, update
your PACER account.

                                                 CERTIFICATE OF SERVICE

  The electronic signature above certifies that all parties or their counsel of record have been electronically
  served with this document as of the date of filing.


6ca-68
8/17
